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 4   Telephone: (916) 554-2700
 5
 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                            )    CR. NO. S-08-0376 EJG
                                                           )
12               Plaintiff,                                )
                                                           )    STIPULATION AND ORDER TO
13    v.                                                   )    CHANGE JUDGMENT AND SENTENCE
                                                           )    TO STATUS CONFERENCE
14    CHRISTOPHER M. CHAIVOLA,                             )
                                                           )
15               Defendant.                                )
                                                           )
16                                                         )
17
18          THE PARTIES HEREBY STIPULATE AS FOLLOWS:
19          Mr. Chiavola is scheduled for status conference on sentencing on May 13, 2011. However, he
20   may be called as a witness at the trial of several co-conspirators in this case. As such, the government
21   will not be able to fully determine its sentencing recommendation until after the trial, which is set to
22   begin September 12, 2011.
23          Per agreement with the government and defense counsel, it is respectfully requested that the
24   status conference regarding sentencing, currently set for May 13, 2011, at 10:00 a.m., be vacated and
25   that the case be re-set for status on sentencing for October 28, 2011, which is currently the status date
26   set for several cooperating co-defendants.
27          It is anticipated that at that time, the parties will be in a better position to request a new
28   Judgment and Sentencing date and disclosure schedule for the pre-sentence report.

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 1                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 2
 3   Date: 5/10/11                                   /s/ Russell L. Carlberg
                                                  By: RUSSELL L. CARLBERG
 4                                                Assistant United States Attorney
 5
 6
     Date: 5/10/11                                   /s/ Clyde Blackmon*
 7                                                CLYDE BLACKMON
                                                  Attorney for Defendant Christopher M. Chiavola
 8
 9                                           [PROPOSED] ORDER
10          For the reasons stated above, the Court vacates the status conference regarding sentencing
11   currently set for May 13, 2011. The Court re-sets the matter for a status conference on sentencing for
12   October 28, 2011, at 10 a.m..
13
            IT IS SO ORDERED this 11th day of May, 2011.
14
15                                                /s/ Edward J. Garcia
                                                  EDWARD J. GARCIA
16                                                UNITED STATES DISTRICT JUDGE
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28   *Signed with permission.

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